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            EXHIBIT 7
          to the Declaration of Qifan Huang
        PUBLIC VERSION - REDACTED
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                                                                          Page 1
                 UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF CALIFORNIA
                            ---oOo---


MARIA SCHNEIDER, UNIGLOBE
ENTERTAINMENT, LLC, and
AST PUBLISHING LTD.,
individually and on behalf
of all others similarly
situated;

                  Plaintiffs,
vs.                                    Case No. 3:20-cv-04423-JD
YOUTUBE, LLC; and GOOGLE
LLC;

             Defendants.
__________________________/


                   THIS TRANSCRIPT CONTAINS
HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY TESTIMONY
             REMOTE VIDEOTAPED DEPOSITION OF AMY WU
             SEE ATTACHED LETTER FOR DESIGNATIONS
                     PALO ALTO, CALIFORNIA
                     TUESDAY, MAY 24, 2022


STENOGRAPHICALLY REPORTED BY:
ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR
CSR LICENSE NO. 9830
JOB NO. 832769
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                                                  Page 2                                                  Page 4
 1          UNITED STATES DISTRICT COURT                    1   R E M O T E A P P E A R A N C E S: (Cont.)
 2         NORTHERN DISTRICT OF CALIFORNIA                  2
 3             ---oOo---
 4                                                          3
 5   MARIA SCHNEIDER, UNIGLOBE                              4     COUNSEL FOR THE DEFENDANTS:
     ENTERTAINMENT, LLC, and                                5       WILSON SONSINI GOODRICH & ROSATI
 6   AST PUBLISHING LTD.,                                   6       BY: MAURA REES, Esq.
     individually and on behalf
 7   of all others similarly
                                                            7          KELLY M. KNOLL, Esq.
     situated;                                              8       650 Page Mill Road
 8                                                          9       Palo Alto, CA 94304-1050
          Plaintiffs,                                      10       (650) 493-9300
 9   vs.              Case No. 3:20-cv-04423-JD            11
10   YOUTUBE, LLC; and GOOGLE
     LLC;                                                  12     ALSO PRESENT: Peter van der Vlugt, Videographer
11                                                         13           Matthew Gubiotti, Google
           Defendants.                                     14
12   __________________________/                           15                 ---oOo---
13
14                                                         16
15        Remote Videotaped Deposition of Amy Wu,          17
16    taken on behalf of the Plaintiffs, on Tuesday,       18
17    May 24, 2022, beginning 9:06 a.m., and ending        19
18    at 5:29 p.m., Pursuant to Notice, and before me,     20
19    ANDREA M. IGNACIO, CSR, RPR, CRR, CLR ~ No. 9830.
20                                                         21
21                                                         22
22                                                         23
23                                                         24
24
25                                                         25

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 1     A P P E A R A N C E S:                               1              INDEX
 2                                                          2
 3       COUNSEL FOR PLAINTIFFS:                            3   WITNESS: Amy Wu
 4         BOIES SCHILLER FLEXNER LLP                       4
 5         By: PHILIP C. KOROLOGOS, Esq.                    5   EXAMINATION                      PAGE
 6            DEMETRI BLAISDELL, Esq.                       6   By Mr. Korologos                7
 7         55 Hudson Yards, 20th Floor                      7
 8         New York, NY 10001                               8               EXHIBITS
 9         (212) 446-230                                    9   EXHIBIT                           PAGE
10                                                         10   Exhibit 101 Tech Talks, Bates            45
11               -- and --                                 11           GOOG-SCHNDR-00042647 - '48
12                                                         12   Exhibit 102 Watch Next Overview 1-22-16 Product 47
13          KOREIN TILLERY, LLC                            13           Review, Bates GOOG-SCHNDR-00040865
14          By: GEORGE ZELCS, Esq.                         14           - '941
15             CAROL O’KEEFE, Esq.                         15   Exhibit 103 Autoplay DeepDive Charles Wu 4/2021 115
16             RYAN CORTAZAR, Esq.                         16           Bates GOOG-SCHNDR-00040723 - '747
17             DAVID WALCHAK, Esq.                         17   Exhibit 104 Watch Next Introduction, Bates 133
18          205 North Michigan, Suite 1950                 18           GOOG-SCHNDR-00040752 - '53
19          Chicago, IL 60601                              19   Exhibit 105 YouTube Watch Next's New Hire Guide 136
20          Telephone: (312) 641-9750                      20           Bates GOOG-SCHNDR-00042675 - '78
21                                                         21                 ---oOo---
22                                                         22       HIGHLY CONFIDENTIAL ATTORNEYS' EYES ONLY
23                                                         23   ** See Attached June 17, 2022 Wilson Sonsini Letter
24                                                         24    of Designations
25                                                         25                 ---oOo---


                                                                                          2 (Pages 2 to 5)
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 1          REMOTE ZOOM DEPOSITION                            1        And if there are interruptions, I apologize
 2          TUESDAY, MAY 24, 2022                             2   for that, but such as the life of doing things
 3            9:06 a.m.                                       3   remotely these days.
 4                                                            4        Would you state your name for the record,
 5                                                            5   please.
 6         THE VIDEOGRAPHER: We are now on the record.        6      A Amy Wu.
 7   This begins Videotape No. 1 in the deposition of         7      Q And what is your address?
 8   Amy Wu. In the matter of Maria Schneider versus          8      A Home address?
 9   YouTube LLC.                                             9      Q Yes.
10         Today is Tuesday May 24, 2022, and the time       10      A
11   is 9:06 a.m. This deposition is being taken virtually   11      Q And where are you employed?
12   at the request of Boies Schiller & Flexner LLP.         12      A At Google.
13         The videographer is Peter van der Vlugt of        13      Q And when did you join Google?
14   Magna Legal Services.                                   14      A I joined Google in, I believe it was, 2007.
15         The court reporter is Andrea Ignacio of Magna     15      Q And what was your position when you first
16   Legal Services.                                         16   joined Google?
17         Will counsel and all parties present state        17      A When I first joined Google, my position was
18   their appearances and whom they represent.              18   product manager.
19         MR. KOROLOGOS: Good morning, it's Philip          19      Q For what product?
20   Korologos with Boies Schiller & Flexner on behalf of    20      A When I first joined Google, I was product
21   the Plaintiffs and the Putative Class.                  21   manager within Search.
22         MS. REES: This is Maura Rees from Wilson          22      Q And how long were you product manager within
23   Sonsini on behalf of Google and YouTube. And with me    23   Search?
24   today are Kelly Knoll from Wilson Sonsini, and Matt     24      A I believe I was in Search for about a year.
25   Gubiotti from Google.                                   25      Q Did you say one year?

                                                  Page 7                                                    Page 9
 1        MR. ZELCS: George Zelcs on behalf of the            1      A I believe it was about one year roughly.
 2   plaintiffs. With me are Carol O'Keefe, Ryan Cortazar     2      Q So that would be some time in 2008?
 3   and David Walchak all from Korein Tillery.               3      A Would have been until some time in 2008.
 4        MR. KOROLOGOS: And also from Bose Schiller          4      Q And where did you shift to next? What
 5   is Demetri Blaisdell.                                    5   position and -- and what area?
 6        THE VIDEOGRAPHER: Will the court reporter           6      A Next I went to -- that was also product
 7   please swear in the witness.                             7   manager. Actually, sorry. When I first joined, it
 8                                                            8   was associate product manager. Actually it was -- I
 9                  AMY WU,                                   9   recall that was officially my title. So when I went
10          having been sworn as a witness,                  10   to -- next was Ads, and I was also an associate
11         by the Certified Shorthand Reporter,              11   product manager at that time.
12             testified as follows:                         12      Q And how long were you an associate product
13                                                           13   managers in Ads?
14                                                           14      A I -- I was an associate product manager in
15                  EXAMINATION                              15   Ads for about a year until -- and then after that I
16   BY MR. KOROLOGOS:                                       16   was, you know, product manager.
17      Q Good morning, Ms. Wu.                              17      Q And so you elevated from associate product
18      A Good morning.                                      18   manager to product manager but stayed within Ads?
19      Q As we discussed a little bit before, we're         19      A Yes.
20   going to be using a platform for exhibits, and we're    20      Q And how long were you product manager in Ads?
21   using Zoom for the deposition today.                    21      A I believe it was probably about a year or
22        If at any time you have difficulty hearing         22   two. Maybe two years, if I recall correctly.
23   me, please interrupt so that you can have a clear       23      Q So that takes us up to about 2011?
24   understanding of what my questions are, and as I need   24      A I'm not sure if it was exactly 2011. I just
25   to get a clear understanding of your answers.           25   know it was roughly about -- about a year as an


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                                                Page 10                                                        Page 12
 1   associate product manager, and then probably another      1   those were both with respect to Google?
 2   couple of years at the product manager.                   2      A Those were both Google, within Google, yes.
 3      Q What was your next position?                         3      Q So Google Search and Google Ads, and not
 4      A My next position was also product manager.           4   YouTube Search or YouTube Ads?
 5      Q In what area?                                        5      A That's right.
 6      A I was a product manager in Google Play.              6      Q Are there any other product managers for
 7      Q How long were you product manager in Google          7   Watch Next today?
 8   Play?                                                     8      A No.
 9      A I believe it was around maybe three years or         9      Q Have there been since you became product
10   so. I can't recall the exact length though, but I        10   manager for Watch Next in 2016?
11   think it was three or maybe four years.                  11      A Yes.
12      Q And where did you go after that?                    12      Q Who else has been product manager for Watch
13      A After Google Play, I went to YouTube.               13   Next along with you since 2016, and during what
14      Q Okay. And when did you go to YouTube?               14   periods of time?
15      A Let me think. I believe it was 20 -- I              15      A There was one person who covered for me while
16   believe it was around 2016.                              16   I was out on maternity leave. And I'm trying to
17      Q And how did you end up going to YouTube?            17   remember. I think that was -- you asked what period
18      A Can you clarify what you mean by that?              18   of time; is that right?
19      Q Sure.                                               19      Q Yes, yep.
20        How did you end up changing your position in        20      A That was 2017. Late 2017 until early 2018.
21   or about 2016 from being a product manager in Google     21      Q And who was that that covered for you?
22   Play to shifting over to YouTube?                        22      A It was an associate product manager.
23        MS. REES: Object to the form of the                 23      Q And what is the person's name?
24   question.                                                24      A Her name is Lexie Judd.
25        MR. KOROLOGOS: Q. You can answer.                   25      Q During that late -- let me withdraw that.

                                                Page 11                                                        Page 13
 1      A Do you -- do you -- can you clarify? Do you          1         Did anybody else hold the position of product
 2   mean kind of the mechanics or --                          2   manager in Watch Next from 2016 to the present other
 3      Q No.                                                  3   than you or Ms. Judd?
 4        What -- what was it that is the principal            4      A No one else has been the Watch Next product
 5   cause for you changing positions from working for         5   manager during that time, as far as I can recall.
 6   Google Play to working for YouTube?                       6      Q And aside from your maternity leave, which I
 7      A So I just -- you know, I -- it was kind of           7   take it was from late 2017 to early 2018, have you
 8   time to make a change. I had been on Google Play for,     8   been actively working as the product manager for Watch
 9   I guess, around three for years at the time, and I was    9   Next since 2016?
10   interested in, you know, this YouTube, moving to         10      A Yes.
11   YouTube from there.                                      11      Q How many people are in the Watch Next group?
12      Q And did you apply for the position?                 12      A It -- define -- can you define "group"?
13      A I did apply internally, yes.                        13      Q Well, you tell me.
14      Q And when you went to YouTube in 2016, did you       14         What -- is Watch Next considered a group
15   go in as a product manager?                              15   within YouTube? Or an area? Or a division? Or
16      A Yes; I was a product manager.                       16   something like that?
17      Q For what? For Watch Next?                           17      A Yes, there is a core Watch Next team, let's
18      A Yes.                                                18   call it.
19      Q And that's a position you've held since 2016?       19      Q And is that a team that you manage?
20      A Yes.                                                20      A I -- I don't know about manage, but I'm the
21      Q Prior to 2016, had you had any involvement          21   product manager for that team, for Watch Next, yes.
22   with YouTube?                                            22      Q Who manages the team?
23      A Not that I can recall.                              23      A Well, by "team," there -- there is an
24      Q So when you were associate product manager in       24   engineering manager for the team who, you know,
25   Search and then associate product manager in Ads,        25   just -- you know, is the -- is the manager.


                                                                                       4 (Pages 10 to 13)
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                                                Page 14                                                       Page 16
 1     Q And the engineering manager manages the               1      Q What about Sue-Lin Wu?
 2   engineers that are on the team?                           2      A Sue-Lin, I would not consider her to
 3     A Yes.                                                  3   currently be part of the Watch Next's core team.
 4     Q And are there non-engineers that are on the           4      Q Was she previously?
 5   team?                                                     5      A Yes.
 6     A It depends on how you define "team."                  6      Q What about Todd Obray? I'm not sure I'm
 7     Q I'm talking about the core Watch Next team            7   pronouncing that right.
 8   that you referred to.                                     8      A I also wouldn't consider him to be part of
 9     A I would consider the core team to be the              9   the core Watch Next team.
10   engineers and myself. There are some others that, you    10      Q What is the purpose of the core Watch Next
11   know, we work with, but I don't -- I don't know if I     11   team?
12   would, you know, consider them part of the team, so to   12      A The purpose of the core Watch Next team is to
13   speak, when I'm speaking of the team.                    13   connect viewers with the content that they would love
14     Q Okay. Who is on the core Watch Next team             14   to watch and be satisfied by watching.
15   today?                                                   15      Q And am I correct that Watch Next is a
16     A There are engineers on the team and myself.          16   back-end service for YouTube?
17     Q What are their names?                                17      A You could describe it that way.
18     A One of their -- one of their names is Brad           18      Q And what is a back-end service, in your mind?
19   Forehle.                                                 19      A In my mind, back-end service -- services
20     Q Anybody else?                                        20   usually don't deal with, you know, the -- the UI, the
21     A Another person who works on Watch Next is            21   look and feel of the product.
22   Charles Wu.                                              22      Q UI being user interface?
23     Q Anybody else?                                        23      A Yes.
24     A Another person who works on Watch Next is            24      Q And am I correct that Watch Next generates
25   Lukasz Heldt.                                            25   video suggestions on the YouTube Watch Page?

                                                Page 15                                                       Page 17
 1     Q Anybody else?                                         1      A Watch Next does -- does provide
 2     A Another person who works on Watch Next is Li          2   recommendations. You can call them suggestions, if
 3   Wei.                                                      3   you would like, onto the -- on the YouTube Watch Page.
 4     Q How do you spell Li Wei's name?                       4      Q And is that what you refer to them internally
 5     A L-I, W-E-I.                                           5   as "recommendations"?
 6     Q Anybody else?                                         6      A Yes.
 7     A Another person that works on Watch Next is            7      Q And what is the Watch Page? Is that the page
 8   Hariharan. I don't recall his last name currently at      8   that one has open when one watches the video?
 9   the moment.                                               9      A Yes.
10     Q H-A-R-I-H-A-N?                                       10      Q And Watch Next also populates what might get
11     A H -- H-A-R-I-H-A-R-A-N, I believe. I -- so           11   played using Autoplay; is that correct?
12   the -- that's what I recall at the moment.               12      A Autoplay is one of the features that Watch
13     Q Okay.                                                13   Next supports, yes. Although can you -- can you
14     A That may not be the right spelling.                  14   clarify what you mean by "Autoplay" just so --
15     Q Anybody else you can recall?                         15      Q Yeah, let's -- let's clear that up.
16     A Another person would be Yi Wu.                       16         So from the user's perspective, YouTube
17     Q Anybody else?                                        17   refers to Autoplay as the playing by YouTube of videos
18     A I can't recall the rest of it right now.             18   suggested for the user by Watch Next; is that correct?
19   That's the list that I have so far.                      19         MS. REES: Object to the form of the
20     Q What about Cristos Goodrow?                          20   question.
21     A I wouldn't consider Cristos part of the Watch        21         MR. KOROLOGOS: Q. You can answer.
22   Next Core team.                                          22      A So my understanding, the -- you know,
23     Q What about Andre Rohe?                               23   Autoplay is -- is a feature that, you know,
24     A I also wouldn't consider Andre to be part of         24   essentially lets the -- you know, it's a feature that
25   the Watch Next team.                                     25   is providing an easy way for users to move on to the


                                                                                      5 (Pages 14 to 17)
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                                                Page 18                                                       Page 20
 1   next video that they want to watch. And it's the          1   you're saying "who selects the video."
 2   feature where, you know, you finish a video on the        2          MR. KOROLOGOS: Q. You can answer.
 3   Watch Page. You see this countdown that starts. The       3       A The -- well, the next video, I don't know if
 4   user can choose to cancel, you know, leave the page,      4   it's a "who," but it's the -- the Autoplay feature is
 5   or they can choose to, you know, keep going, at which     5   serving up the -- the video that we think that the
 6   point another video would play after the one that         6   user might be most likely to watch next. So it's
 7   they're currently watching. That's the Autoplay           7   based off of, you know, what we think the user might
 8   feature.                                                  8   want to watch.
 9      Q And when you say that the countdown starts,          9          MR. KOROLOGOS: Q. And so it is
10   that's the countdown to the playing of the video         10   automatically played by YouTube; is that correct?
11   selected by the Autoplay process of YouTube; correct?    11          MS. REES: Object to the form of the
12        MS. REES: Object to the form of the                 12   question.
13   question.                                                13          THE WITNESS: Well, you know, if -- if the
14        THE WITNESS: The -- the video -- so after           14   user again doesn't -- you know, doesn't interfere with
15   the countdown completes, then the next video that is     15   the countdown and chooses to let that complete and the
16   played is the -- is the recommendation that, you         16   next video to be played, then, you know, that -- that
17   know -- that we think that users would most likely       17   next video would be played, you know, for the -- for
18   want to watch next.                                      18   the user. Again, based off of what we think, you
19        MR. KOROLOGOS: Q. And that's played                 19   know, they might want to watch next.
20   automatically by YouTube without any involvement by      20          MR. KOROLOGOS: Q. And is it correct or
21   the user --                                              21   incorrect to state that after a user watches a YouTube
22        MS. REES: Object.                                   22   video, YouTube will automatically play another related
23        MR. KOROLOGOS: Q. -- after it's played in           23   video based on the user's viewing history?
24   Autoplay; is that correct?                               24       A After the video is complete, there are many
25        MS. REES: Object to the form of the                 25   factors that go into what is -- you know, what's the

                                                Page 19                                                       Page 21
 1   question.                                                 1   video that's played next. Viewing history is -- is
 2         THE WITNESS: Well, the -- after -- you know,        2   one of many considerations.
 3   the -- the user can choose to, you know, either move      3      Q And is it accurate to say that based on those
 4   forward and -- and watch the next video, or they can      4   considerations, YouTube will automatically play
 5   choose to, you know, to cancel the count down, or to      5   another related video after the user watches a YouTube
 6   do something else, or choose another video, you know,     6   video?
 7   entirely altogether on the page. Or, you know do any      7        MS. REES: Object to the form of the
 8   number of other things. That -- that's up to them.        8   question.
 9         But if they, you know, like the next video          9        THE WITNESS: Can you repeat the question
10   and they want to continue on to watching it, then they   10   again?
11   may choose to do so.                                     11        MR. KOROLOGOS: Sure.
12         MR. KOROLOGOS: Q. And if the user does             12      Q Is it accurate to say that, based on the
13   nothing, what happens?                                   13   considerations you've just generally identified,
14      A If the user chooses to let the countdown            14   YouTube will automatically play another related video
15   complete and not interfere with the countdown, then      15   after the user watches a YouTube video?
16   the next video would start playing.                      16      A It may or may not.
17      Q And who selects that video that gets played         17      Q Under what circumstances might it be and
18   at that point?                                           18   under what circumstances might it not be?
19      A I --                                                19      A It just -- it depends a lot on the context,
20         MS. REES: Object to the form of the                20   and what -- you know, what the user might want to
21   question.                                                21   watch next.
22         MR. KOROLOGOS: What's the nature of the            22      Q Does YouTube ever automatically play another
23   objection?                                               23   related video after a user watches a YouTube video?
24         MS. REES: The nature of the objection is           24        MS. REES: Object to the form of the
25   that it's unclear what you mean when you say -- when     25   question.


                                                                                       6 (Pages 18 to 21)
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 1   played next is usually determined after the user, you     1   factors. Like the video that they're currently
 2   know, starts to watch the -- the current video.           2   watching or, you know, what -- what their past viewing
 3      Q How soon after the user starts watching the          3   history have might have been.
 4   current video?                                            4      Q Well, those go to what the user might want to
 5      A Pretty soon.                                         5   watch next, right, in terms of the desires of the
 6      Q Meaning less than a second?                          6   user; correct?
 7      A I think so, but I couldn't say for sure.             7      A Those are factors that would go into what
 8      Q More than a second. It's something small             8   users might want to watch next, yes.
 9   like that. Not minutes, or hours, or anything like        9      Q Okay. How does the Watch Next function of
10   that?                                                    10   YouTube determine what videos might be used to
11      A It wouldn't be hours.                               11   populate a list that satisfies the user?
12      Q Could it be minutes?                                12      A I see.
13      A It could be in some cases, but that's -- you        13         So you're talking about Watch Next as a
14   know, I -- I don't know for sure. That's more within,    14   whole; not Autoplay specifically?
15   you know, the engineering team. I never personally       15      Q Well, let's stick with Autoplay, and then
16   measured that myself.                                    16   we'll come back to Watch Next.
17      Q Okay. Now, we talked when we went through a         17      A Well, Autoplay is based off of Watch Next.
18   list and got all of your recollection with respect to    18   So it's -- it's, you know, the same starting list, if
19   how YouTube goes about trying to understand the intent   19   that makes sense.
20   of a user.                                               20      Q That's what I was going to come back to. But
21         What other factors go into determining what        21   now that we've established that, let's -- let's answer
22   video will play next automatically pursuant to           22   the question.
23   Autoplay?                                                23      A So your question -- sorry. Repeat the
24      A Well -- well, ultimately we're trying to -- I       24   question so I have it.
25   mean, you know, depending on what you mean by "user      25      Q Sure.

                                                Page 35                                                       Page 37
 1   intent."                                                  1        And let me try to approach it a different
 2         Generally, you know, our -- the main factor         2   way.
 3   is to, you know, try to, you know, understand or guess    3      A Okay.
 4   what the user might want to watch next. You know, you     4      Q Am I correct that Watch Next is a function
 5   can call that maybe intent or something else. But         5   that helps identify potential videos that might
 6   it's basically what -- you know, what they might like     6   interest a user that is watching a video on YouTube at
 7   to see. That is the main factor.                          7   a given time?
 8         As to if there's any -- you know, that's --         8      A Yes.
 9   that's really the main factor. I can't think of any       9      Q And Watch Next then takes those identified
10   other at the moment.                                     10   potential videos and provides a scoring, a ranking of
11       Q Well, once -- let me withdraw that.                11   those videos, based on a variety of factors related to
12         In addition to determining -- let me withdraw      12   what YouTube understands from information it has about
13   that, too.                                               13   the user to try to determine what the user might want
14         In addition to formulating an understanding        14   to watch next; is that right?
15   of what YouTube believes the user might want to watch    15      A Yes.
16   next, doesn't YouTube also have to figure out what       16      Q And then for Autoplay, the Watch Next
17   video might satisfy that want?                           17   function may apply some filtering to make sure that
18       A Well, it is our goal to find, you know,            18   there's not offensive material or other issues that
19   the -- the video that might be the most satisfying to    19   might better identify a video that the user will watch
20   the user. That is one of our goals. I guess I -- I       20   from that list; is that right?
21   can't see that as the same as a video that they might    21      A Yes.
22   like to watch.                                           22      Q And that latter function is sometimes called
23       Q Okay. But how does YouTube determine which         23   twiddling or twiddler; is that right?
24   video might satisfy the user's wants?                    24      A I would -- I would kind of call it more
25       A Well, as I mentioned earlier, there's lots of      25   post-processing, I mean, with this one method.


                                                                                     10 (Pages 34 to 37)
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                                                Page 94                                                       Page 96
 1   YouTube that is focused on takedowns and those kinds      1       Q And what does the Elmo team do?
 2   of things. And, you know, we receive and respect          2       A To my knowledge, they produce signals that
 3   whatever outcome, you know, comes out of that team.       3   help us in -- you know, help us understand, you know,
 4   That's -- but that -- that's not something that we        4   how spammie or abusive a creator might be.
 5   ourselves are focused on.                                 5       Q And what do you mean when you say "spammie or
 6      Q When you say you receive and respect whatever        6   abusive" by the word "abusive"?
 7   comes -- let me withdraw that.                            7       A Again, I'm not sure if -- if -- how -- how
 8         When you say we receive and respect whatever        8   that team is defining it. I -- you know, I'm not an
 9   outcome comes out of the takedown notice team, what do    9   expert on the spam and abuse signals. So, you know,
10   you mean?                                                10   it's -- so, yeah, I'm not -- I don't -- I'm not really
11      A Well, I mean that, you know, if something has       11   sure how -- what the exact definition is.
12   been taken down from YouTube, then that's something      12       Q Do you know who's on the Elmo team?
13   that, you know, obviously we and Recommendations would   13       A I don't remember who the individuals are on
14   respect as well. We wouldn't be showing that in our      14   the Elmo team.
15   recommendations.                                         15       Q Do you recall any of them?
16      Q Okay. If a video has been blocked as a              16       A No.
17   result of a content ID match, is that also something     17       Q Do you have any understanding of how the spam
18   that you would respect as well?                          18   and abuse team uses content ID information?
19      A Has been blocked. Not -- I'm not super              19       A Kind of, at least in my kind of cursory
20   familiar with all the ways that -- you know, what        20   understanding. I believe one of the ways is they
21   happens after content ID. But whatever, you know,        21   might use it to help figure out if the -- if a creator
22   there's a whole team around content ID. And again,       22   is re-uploading, like, a lot of duplicates, you know,
23   whatever outcomes they have or they've blocked it, I     23   to the -- to the extent that content ID helps
24   guess, or something else, then we respect that in        24   identify, you know -- you know, overlap in content
25   Watch Next.                                              25   between two videos. It could help them determine


                                                Page 95                                                       Page 97
 1      Q Is there any information from the Content ID         1   if -- if somebody is uploading, you know, duplicates
 2   team that feeds into the Watch Next algorithm?            2   of the same video repeatedly. That's at least my
 3      A There was a period of time in Autoplay where         3   understanding.
 4   we excluded videos that had been copyright muted. So      4       Q Any other understanding of how the spam and
 5   if somebody had, you know, muted a video due to a -- I    5   abuse team uses content ID information?
 6   guess a content ID claim, then we had exclude --          6       A That's the only one that I'm aware of.
 7   filtered that video from -- from Autoplay for a time      7       Q Is -- you mentioned that for a period of time
 8   because we thought that might not be a good user          8   Watch Next excluded videos that had been copyright
 9   experience to have this muted video. There's that.        9   muted. What do you mean by "copyright muted"? Is
10         Then that was -- that was a case where, you        10   that where the sound is turned off but the video could
11   know, I guess we were -- I don't remember who exactly    11   play?
12   the signal came from, but that would be, you know, a     12       A Yes. This is for Autoplay specifically. Not
13   content ID related thing in the algorithm.               13   all of Watch Next. And it -- to my understanding,
14      Q Any other content ID related things in the          14   it's videos where part of the video, at least part of
15   algorithm that you can recall?                           15   the video, had been muted. So, you know, sound turned
16      A I -- I think that content ID might be an            16   off for -- you know, for, you know, I guess, due to
17   input into one of the spam and abuse signals that we     17   being, you know, for copyright reasons.
18   use in the algorithm, but that's produced by a           18       Q And is that exclusion something that Autoplay
19   different team. So, you know, I -- I -- I don't know     19   still does or did it stop doing that?
20   for sure, but that's my understanding.                   20       A I believe it's no longer using that filter.
21      Q And what team is that, spam and abuse               21       Q Do you know why it stopped?
22   signals?                                                 22       A The -- the team that was providing us that
23      A Internally, that's called the Elmo team.            23   signal, you know, made some changes. So it was --
24      Q Elmo?                                               24   that signal was just no longer available to us.
25      A Yes.                                                25       Q Which team was providing that signal?


                                                                                     25 (Pages 94 to 97)
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                                                 Page 98                                                     Page 100
 1      A I'm not sure.                                       1     A I wonder if this -- my guess would have been
 2        MS. REES: Phil, are we getting to a point           2   maybe          but I -- I don't know if -- if that is
 3   where we can take a lunch break?                         3   exactly what I meant here. But Knowledge graph is,
 4        MR. KOROLOGOS: Yeah, let me just wrap up the        4   again, an understanding of -- of -- you know, of
 5   page that we're on.                                      5   content. Like top -- you know, what topic it is and
 6      Q Are you familiar with the Copyright Knights         6   such.
 7   team?                                                    7     Q Two above, Knowledge graph, it says:
 8      A No.                                                 8        "Structured metadata (paid)"
 9      Q Do you still have the features for machine          9        What's that refer to?
10   learning page in front of you, page '888 of             10     A I'm not sure. I don't know.
11   Exhibit 102?                                            11     Q And then the bottom one says:
12      A Yes.                                               12
13      Q The third column over on the right says:           13         What's that refer to?
14        "Lots more to add"                                 14     A
15        Do you see that?
16      A Yes.
17      Q And there's a list of what looks like about
18   ten bullets.
19        Have any of these factors been added to the
20   machine learning scoring process since they were
21   potential candidates to add back in January 2016?
22      A I believe at least some of these were
23   probably added.
24      Q Which ones?                                        24     Q Okay. Back to the question of which were
25      A Let's see. I think we probably added some          25   added since 2016 as factors for the ranking or

                                                 Page 99                                                     Page 101
 1   "User context." This is pretty broad, but my guess is    1   scoring.
 2   we added some more User context features.                2         Any others on the list that you believe were
 3      Q Anything else?                                      3   added, other than the ones you've already identified?
 4      A The "                                   " huh,      4      A I believe so, but I can't be sure because
 5   I'm not -- huh, I'm not sure about that one.             5   some of these are quite vague. Probably didn't do a
 6   "                " We might have added a signal that     6   good of list -- you know, of writing these here. Some
 7   -- actually, I don't know. I don't think we -- I         7   of them are quite vague, so I can't be sure.
 8   think                                                    8         MR. KOROLOGOS: Okay. Why don't we take a
                                                   .          9   break for lunch.
10      Q Anything else?                                     10         Does 45 minutes work for people to come back
11      A We might have provided some more "                 11   at -- at 1:15?
            " as well.                                       12         THE WITNESS: If I could request a slightly
13      Q Anything else?                                     13   longer lunch, because I need to do some, you know,
14      A Potentially "                                      14   baby stuff --
             "                                               15         MR. KOROLOGOS: Okay.
16      Q What does that refer to?                           16         THE WITNESS: -- during the lunch.
17      A I think it                                         17         MR. KOROLOGOS: Okay.
                                                             18         THE WITNESS: Maybe an hour, if that works.
                                                             19         MR. KOROLOGOS: Okay. Sure. 1:30. We'll
20     Q Would that be the candidate video or the            20   come back.
21   video being watched?                                    21         THE VIDEOGRAPHER: Off the record 12:27 p.m.
22     A Probably both.                                      22         (Lunch break taken at 12:27 p.m.)
23     Q Okay. Right below that it says:                     23                  ---oOo---
24       "Knowledge graph"                                   24
25       What's that refer to?                               25


                                                                                  26 (Pages 98 to 101)
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                                               Page 106                                                      Page 108
 1      Q But either -- either -- well, did you mean by        1   connect videos that they want to watch. And they can
 2   that sentence to convey that it was candidates from       2   choose to turn on that feature and -- and use it, you
 3   other sources across YouTube Search and Discovery that    3   know, or turn it off. And, you know, they can decide
 4   encourage viewers to watch more videos? Or did you        4   if they want to be using that feature to connect to
 5   mean it to say Watch Next encourages viewers to watch     5   more videos they want to watch.
 6   more videos?                                              6       Q And YouTube turns that feature on
 7      A I can't be sure what exactly I meant when I          7   automatically for users who are over 18; correct?
 8   wrote this sentence.                                      8       A Yes.
 9      Q Well, do you feel that Watch Next encourages         9       Q And when that feature is on, Autoplay will
10   viewers to watch more videos?                            10   automatically play a video that is selected by YouTube
11      A I'd say -- I would say not exactly.                 11   through the process we talked about this morning, to
12      Q Why not?                                            12   provide a user what YouTube sometimes refers to as a
13      A I would say that, you know, Watch Next              13   lean back experience; correct?
14   presents viewers with videos that they might want to     14         MS. REES: Object to the form of the
15   watch. And, you know, to the extent that, you know,      15   question.
16   that kind of, you know, enables them access to the       16         MR. KOROLOGOS: Q. You can answer.
17   videos and they, you know, would use that to watch       17       A Sorry. Can you repeat the question?
18   more, then that is something that we would do.           18       Q Sure.
19      Q Which encourages people to watch more videos;       19         When the Autoplay feature is on, Autoplay
20   right?                                                   20   will automatically play a video that is selected by
21      A It would present, you know -- it would              21   YouTube through the Autoplay process we talked about
22   present options to the viewer, and they could watch      22   this morning, to provide a user what YouTube sometimes
23   more videos if they so choose, or they could choose to   23   refers to as a lean back experience?
24   not watch anymore videos.                                24         MS. REES: Object to the form of the
25      Q And over time, Watch Next has encouraged more       25   question.

                                               Page 107                                                      Page 109
 1   watching; correct? More watch time?                       1         THE WITNESS: Perhaps you can break the
 2      A Well, in general, Watch Next -- you know,            2   question down a little bit. Just -- it's a little
 3   again, our goal is to connect viewers with videos that    3   bit -- I can still -- what's the -- what's the
 4   they might want to watch. And to the extent that, you     4   question?
 5   know, if they watch a video, it's a good indication       5         MR. KOROLOGOS: Well, let's take it in small
 6   that they're happy. Then, you know, that's something      6   steps then.
 7   that we -- that we do look for when we are building a     7      Q You established that Autoplay is on by
 8   product.                                                  8   default for people over 18 on YouTube; correct?
 9      Q And by connecting viewers with videos that           9      A Yes.
10   they might want to watch, those are attempts, are they   10      Q And most users leave it on; correct?
11   not, to get the viewer or influence the viewer to        11      A I don't remember the exact breakdown of what
12   watch the videos that you're connecting the viewer to;   12   percent people have -- leave it on.
13   right?                                                   13      Q Well, do you remember whether it's more or
14      A I wouldn't put it that way.                         14   less than 50 percent?
15      Q How would you put it?                               15         MS. REES: Objection to the form of the
16      A I would say that, you know, we are helping          16   question.
17   use -- viewers have easier access to videos that they    17         THE WITNESS: I don't. I don't recall
18   would want to watch. And so we're just trying to         18   exactly.
19   provide, you know, a better User Experience and kind     19         MR. KOROLOGOS: Q. Is it more than 10
20   of, you know, connect them with those videos more        20   percent?
21   easily.                                                  21      A It might be, yes.
22      Q And some of that connection is to                   22      Q Is it more than 20 percent?
23   automatically play videos for users through the          23      A I'm not sure. I'm not sure if it's
24   Autoplay function; correct?                              24   20 percent.
25      A Autoplay is a feature that helps viewers to         25      Q Is it more than 30 percent?


                                                                                 28 (Pages 106 to 109)
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                                              Page 110                                                      Page 112
 1      A I'm not sure.                                       1   10 percent, but I just don't remember the -- you know,
 2      Q Is it more than 60 percent?                         2   I don't recall the -- the details of exactly what
 3      A I'm not sure.                                       3   percentage it is.
 4      Q Is it more than 70 percent?                         4       Q Okay. You understand I'm not asking for the
 5      A I'm not sure.                                       5   exact percentage. I'm asking for your best
 6      Q Do you know what the percentage is for              6   understanding of what you think the number might be as
 7   YouTube on TV?                                           7   an estimate.
 8        MS. REES: Object to the form of the                 8       A Yes, I understand you're asking for an
 9   question.                                                9   estimate.
10        THE WITNESS: Can you clarify what you mean         10       Q And -- and you're not sure beyond saying that
11   by that?                                                11   you think it may be more than 10 percent?
12        MR. KOROLOGOS: Sure.                               12       A I'm pretty sure it's more than 10 percent.
13      Q TV HTML5 has a platform for YouTube. That          13   I -- but beyond that, I don't have a -- an accurate
14   has Autoplay on it; correct?                            14   guess.
15      A Yes.                                               15       Q Do you have -- what -- let me withdraw that.
16      Q Do you know approximately what percentage of       16          What is your best guess, realizing that I'm
17   users have Autoplay enabled on TV HTML5?                17   asking you to guess?
18      A I don't recall.                                    18          MS. REES: Objection to the form of the
19      Q Do you have any estimate in your mind?             19   question.
20      A I'm not sure. I don't. I don't have a              20          MR. KOROLOGOS: Q. You can answer.
21   number in mind.                                         21       A I don't know. I mean, my best guess is that
22      Q Could be 10 percent? Could be 90 percent?          22   it's -- it's at least 10 percent. But again I -- I
23   Could be anything?                                      23   don't have a great guess beyond that. I'm -- I -- I
24      A I -- I believe it's more than 10 percent, but      24   just don't recall. I'm not sure.
25   I don't -- I don't know the exact number.               25          MR. KOROLOGOS: Q. Do you know whether

                                              Page 111                                                      Page 113
 1     Q Is it more than 20 percent?                          1   people are more likely to have it enabled on TV HTML5
 2      A It could be. I'm not -- I don't recall              2   versus on the web?
 3   the -- the number.                                       3      A Sorry. What -- what are we comparing? TV
 4     Q Is it more than 80 percent?                          4   HTML5 and?
 5      A I don't recall. I don't know.                       5      Q And web.
 6     Q Do you have any recollection of what                 6      A So are -- versus web or can you clarify?
 7   percentage of users on a web platform have YouTube --    7      Q Autoplay is available on HTML5; correct?
 8   I'm sorry -- have Autoplay enabled?                      8      A Yes.
 9      A I don't recall the number, no.                      9      Q And it's on by default for people who are
10     Q Do you have any estimate in your mind?              10   over 18; right?
11      A I think similarly, it's probably more than         11      A Yes.
12   10 percent. But beyond that, I don't -- I don't know    12      Q And Autoplay is available on the web and is
13   the -- you know, the exact number.                      13   on automatically or by default for people who are over
14     Q So in your mind, it could be as -- withdraw         14   18; correct?
15   that.                                                   15      A Yes.
16         So in your mind, it could either be               16      Q And the question is: Given that people can
17   15 percent or 95 percent. Either of those are           17   turn it off, do you have an understanding of whether
18   possibilities?                                          18   the percentage of users who leave it on using TV HTML5
19      A It's-- it's possible. You know, it just            19   is higher, or lower, or the same as it is for people
20   depends on what people have chosen.                     20   who leave Autoplay on when access -- when accessing
21     Q And you have no understanding of what               21   YouTube through the web?
22   percentage of users on the web have Autoplay enabled    22      A I see.
23   other than to say that you think it's more than         23         My guess is that it would be -- I believe it
24   10 percent?                                             24   would be -- I believe it would be higher.
25      A I believe it's -- it's -- it's more than           25      Q Higher on which?


                                                                                29 (Pages 110 to 113)
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                                                  Page 114                                                       Page 116
 1      A On TV HTML5.                                             1      Q Are you familiar with this presentation?
 2      Q And including because you're aware that in               2      A I am familiar with it, yes.
 3   order to turn it off on TV HTML5, you have to go to           3      Q Were you one of the people this was presented
 4   the settings page rather than just click a button that        4   to?
 5   is on the Watch Page, correct, like you can for the           5      A I don't recall if I -- it was presented to me
 6   web?                                                          6   or if I saw it before or afterwards.
 7      A Well, I was thinking -- I'm not -- I'm not as            7      Q Were you involved in its preparation?
 8   familiar with the -- the TV user interface, but I was         8      A I was not the author of this presentation. I
 9   thinking more that, you know, we -- we know that              9   may have been consulted as part of it. I don't
10   typically people on TV might, you know, be more used         10   remember the details of that.
11   to this type of experience or, you know, it's -- it's        11      Q Were you involved in presenting it?
12   pretty -- it can be pretty onerous to be using the           12      A I don't believe so.
13   remote to navigate around a video product. And so,           13      Q Do you know to whom it was presented?
14   they may be more likely -- you know, users may be more       14      A I don't recall.
15   lyingly to appreciate or to enjoy this type of -- this       15      Q Who's Charles Wu?
16   type of, you know, Autoplay experience.                      16      A Charles Wu is on the Watch Next team.
17      Q Okay. What about comparison of web to the               17      Q And what is his role on the Watch Next team?
18   mobile platforms? Are you able to provide your               18      A He is an engineer.
19   understanding as to whether people using the Android         19      Q And focusing on what area?
20   and iOS mobile platforms to access YouTube are more or       20      A He works on Autoplay and some other aspects
21   less likely to leave Autoplay enabled than people when       21   of Watch Next as well.
22   they are accessing YouTube on the web?                       22      Q If you look at the third page of the document
23      A Comparing web and mobile, I would ex- -- I              23   which bears production number ending '725, do you see
24   would guess or expect that web users might use               24   it says:
25   Autoplay more often than people on mobile.                   25         "Core Metrics Share"?

                                                  Page 115                                                       Page 117
 1       Q Would it surprise you to hear that over                 1     A Yes.
 2                  of users accessing YouTube through TV HTML5    2     Q And this would be for Autoplay; correct?
 3   leave Autoplay enabled?                                       3     A Yes, I believe so.
 4       A Yes, that would surprise me.                            4     Q And you understand VWT to be viewer watch
 5       Q Would it surprise you that over                 of      5   time percentage?
 6   people who access YouTube on the web leave Autoplay           6     A No.
 7   enabled?                                                      7     Q What do you understand it to be?
 8       A Yes, that would also surprise me.                       8     A Value watch time percentage.
 9       Q And would it surprise you that over                     9     Q All right.
10                  of users who access YouTube using a mobile    10        What is value watch time percentage? What's
11   app leave Autoplay enabled?                                  11   that mean?
12       A               . I guess that would be perhaps a        12     A Value watch time is watch time that we think
13   little bit surprising, but not shocking.                     13   users would have rated four or five stars out of five.
14          R. KOROLOGOS: Okay. Let's mark as                     14     Q And how is that determined or measured?
15   exhibit -- Plaintiff's Exhibit 103 a document that           15     A We send through surveys.
16   bears Production No. GOOG-SCHNDR-0040723.                    16     Q Surveys of use -- of users?
17          (Document remotely marked Exhibit 103                 17     A Yes.
18           for identification.)                                 18     Q The next column says:
19          MR. KOROLOGOS: It takes a while to come up.           19        "Views%"
20       Q You have that exhibit on your screen, Ms. Wu?          20        Do you see that?
21       A Yes.                                                   21     A Yes.
22       Q And you this is "Autoplay DeepDive"                    22     Q And those are percent -- percentage of views
23   apparently presented by Charles Wu in April of last          23   on those different platforms that are attributed to
24   year, about a year ago?                                      24   Autoplay; is that right?
25       A Yes.                                                   25     A Yes.


                                                                                    30 (Pages 114 to 117)
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                                               Page 118                                                     Page 120
 1      Q And then the third column, it says:                  1   exclusive, and the second one is not mutually
 2         "Enabled%"                                          2   exclusive.
 3         Do you see that?                                    3      Q Okay. How many different nominators are
 4      A Yes.                                                 4   there for Autoplay? And these charts list nine, it
 5      Q And that's the percentage of people who have         5   looks like. A little bit more.
 6   Autoplay enabled; is that right?                          6      A I believe there are more than nine.
 7      A It would appear to be, yes.                          7      Q Do you know approximately how many there are?
 8      Q If you'll look in this same document, two            8      A I -- I believe there's about -- perhaps a
 9   pages further on, page 5 of the thumbnails, and also      9   dozen or a couple dozen. I don't remember the exact
10   I'm going to ask you to look at page 6. You can          10   number.
11   obviously look at any other pages you wish to as well,   11      Q Where would we go to find out?
12   but I'd like to focus you on those two pages for the     12      A What do you mean by that?
13   moment. They bear production numbers ending in '727      13      Q Is there a source you could go to? A
14   and '728.                                                14   document? Or a person? Or some other source? A link
15         And what I'd like to first understand is what      15   on the internal website to find out what all of the
16   the difference in the headings of these two charts       16   nominators are for Autoplay?
17   means.                                                   17      A I don't recall a specific document that would
18         First one on page '727 which is thumbnail          18   have a list of all the nominators. You know, you -- I
19   page 5 says:                                             19   don't recall this -- a specific document that lists
20         "Top Autoplay Nominators by Single-nominator       20   all of them.
21   (Exclusive) Impression Count."                           21      Q Who would you ask for either such a document
22         Let me just ask what that means to start           22   or such a list?
23   with.                                                    23      A I -- I might ask the engineering team.
24      A This is -- so this is -- this is counting --        24      Q Who on the engineering team?
25   this is showing -- impression count would be -- an       25      A Probably -- probably Hari, the one that,


                                               Page 119                                                     Page 121
 1   impression is, you know, when a video shows up in         1   before, I listed earlier, Hariharan.
 2   Watch Next, that's an impression, you know, whether or    2      Q Anybody else? What about Mr. Wu?
 3   not the user chose to -- chose to watch it or not.        3      A Which Ms. Wu?
 4         So this is just saying for the Autoplay             4      Q Mr. Wu, Charles Wu, who made this
 5   video, what are some of the top contributing              5   presentation.
 6   nominators that, you know, fed into the determination     6      A I wouldn't ask him about -- no, I wouldn't
 7   of the Autoplay video.                                    7   ask him. He would not be the one that I would ask --
 8      Q Okay. The next page has a similar heading            8      Q Okay.
 9   that says:                                                9      A -- about the nominators.
10         "Top Autoplay Nominators by Impression Count       10      Q Anybody other than Hari?
11   (Exclusive and Overlapping)."                            11      A I would -- if -- that's who I would ask about
12         What does that mean, and how is that               12   the nominators is Hari.
13   different than the first one we looked at?               13      Q Do you still have the second of the two
14      A Sure.                                               14   charts we looked at, the one that has production
15         The difference between -- exclusive and            15   No. '728, thumbnail number six in front of you? This
16   overlapping? I see.                                      16   is the "(Exclusive and Overlapping)" one.
17         So the difference is -- in the second graph,       17      A Yes. And by the way, can I just request a
18   you know, there might be sometimes multiple nominators   18   break after we wrap up this -- this slide.
19   that contribute to the Autoplay video. And the second    19      Q If you want to take a break now, that's fine,
20   graph is just counting all of them that have             20   and we can take a break in a few. Actually, it may
21   contributed. Whereas the first graph is trying to        21   take longer than a few minutes. So why don't we take
22   identify cases where the nominator was the -- either     22   a break now.
23   the sole contributor or I think there's some way that    23      A That would be great.
24   we -- we pick. You know, so it's basically the non --    24      Q Okay. Thank you.
25   the first one is counting in a way that is mutually      25        THE VIDEOGRAPHER: Off the record at


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                                               Page 138                                                     Page 140
 1      Q Anything else?                                       1      A A database that has information about
 2      A Perhaps how many views a particular video got        2   activity that happens on YouTube.
 3   or received.                                              3      Q What's the name of the database?
 4      Q Now, within the data available to you about          4      A I believe it is called Activity Base.
 5   views that a video got, are you able to identify the      5      Q Activity Base?
 6   source of the view? In other words, why the video         6      A Yes.
 7   played?                                                   7      Q Other than traffic source information, what
 8      A I'm able to look at the traffic source, yes.         8   data is in the Activity Base database?
 9      Q The traffic source; is that what you called          9      A What video -- what video was watched.
10   it?                                                      10      Q You say what video was watched?
11      A Yes.                                                11      A Yes.
12      Q What are the different traffic sources for          12      Q What other data available is in the Activity
13   which there's data?                                      13   database -- I'm sorry -- the Activity Base database?
14      A To Watch Next, for example.                         14      A The number of times the video was watched.
15      Q What are the other traffic sources for which        15      Q Anything else?
16   there's data?                                            16      A The channel of the video.
17      A The homepage.                                       17      Q Anything else?
18      Q Anything else?                                      18      A The platform on which the video was watched.
19      A Search.                                             19      Q Anything else?
20      Q Anything else?                                      20      A The language of the viewer, I believe.
21      A An external list or external sites.                 21      Q Anything else?
22      Q Anything else?                                      22      A The country of the viewer.
23      A I believe playlist is also one.                     23      Q Anything else?
24      Q Anything else?                                      24      A The -- the day -- the day that the watch took
25      A I'd have to say that channel page is another        25   place.

                                               Page 139                                                     Page 141
 1   one.                                                      1     Q Anything else?
 2      Q Anything else?                                       2      A I can't recall at this time.
 3      A That's all I can recall at this time.                3     Q Does it have any information concerning the
 4      Q When you mentioned Watch Next as a traffic           4   revenue generated for the videos watched?
 5   source for which there is data, is that the Watch Next    5      A I don't believe so, but I don't know.
 6   Recommendations feature, or the Watch Next function       6     Q If you wanted to get that information, would
 7   that includes both Recommendations and Autoplay?          7   you be able to do so?
 8      A Watch Next including the Watch Next feature,         8      A I don't have an answer to that. Oh, there's
 9   as well as Autoplay.                                      9   an echo.
10      Q And so you can separately see whether the           10     Q I was not able to hear your answer because of
11   traffic source was from Autoplay as compared to other    11   the echo. I don't know if the echo is still there.
12   sources, including the Recommendations page?             12        But are you hearing an echo as I speak?
13        Let me withdraw that question.                      13      A No; it looks like it's good.
14      A Oh.                                                 14     Q Okay. So let me re-ask my question.
15      Q It got a little messy.                              15        If you wanted to get information concerning
16        So for every video you're able to determine         16   the revenue generated from videos based on what the
17   whether it was played by Autoplay, if it was played by   17   traffic source was for the different watches of those
18   Autoplay?                                                18   videos, would you be able to do so?
19      A For every video, generally we are able to           19      A I'm not sure. I don't remember trying that.
20   identify which views came from Autoplay generally,       20     Q Let's go back to our list of things you have
21   yes.                                                     21   used the Dremel tool for.
22      Q Are you able to identify from -- let me             22        We talked about identifying the top
23   withdraw that.                                           23   nominator. We talked about impressions that Watch
24        What database do you access to determine            24   Next might generate. We talked about views a video
25   information on a traffic source?                         25   got or received and the traffic source, and then the


                                                                                36 (Pages 138 to 141)
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                                       Errata Sheet

 Page:Line Change                                             Reason

 10:2        Replace <at> with <as>                           To clarify the record

 11:9        Replace <for> with <or four>                     To correct transcription errors

 11:10       Insert <, in> between <this> and <YouTube>       To correct transcription errors

 14:19       Replace <Forehle> with <Froehle>                 To correct transcription errors

 15:22       Replace <Core> with <core>                       To correct transcription errors

 16:2        Replace <Sue-Lin> with <Su-Lin>                  To correct transcription errors

 16:3        Replace <Next’s> with <Next>                     To correct transcription errors

 16:6        Replace <Obray> with <Beaupre>                   To correct transcription errors

 23:9        Insert <and> between <playing> and               To correct transcription errors
             <navigation>

 28:24       Replace <their> with <the>                       To correct transcription errors

 28:24       Replace <that> with <what>                       To correct transcription errors

 35:21       Replace <can’t see> with <count -->              To correct transcription errors

 36:3        Remove <have> between <history> and <might>      To clarify the record

 40:7        Remove <out> between <know,> and <videos>        To clarify the record

 60:15       Remove <what> between <when> and <the>           To correct transcription errors

 61:1        Replace <, like,> with <what I>                  To correct transcription errors

 61:2        Replace <paraphrase> with <paraphrased>          To correct transcription errors

 61:4        Insert <it> between <think> and <might>          To correct transcription errors

 62:8        Insert <is> between <know,> and <one>            To clarify the record

 62:11       Replace <end – end use> with <and – and use>     To correct transcription errors

 62:14       Replace <End use. End use> with <And use. And To correct transcription errors
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             use>

 63:2        Replace <four> with <for>                        To correct transcription errors

 71:9        Replace <Obray> with <Beaupre>                   To correct transcription errors

 71:11       Replace <Obray> with <Beaupre>                   To correct transcription errors

 84:1        Remove <of> between <to> and <the>               To clarify the record

 93:8        Replace <spammie> with <spammy>                  To correct transcription errors

 93:10       Replace <spammie> with <spammy>                  To correct transcription errors

 94:13       Replace <and> with <in>                          To correct transcription errors

 94:21       Replace <content ID> with <Content ID>           To correct transcription errors

 94:22       Replace <content ID> with <Content ID>           To correct transcription errors

 95:6        Replace <content ID> with <Content ID>           To correct transcription errors

 95:13       Replace <content ID> with <Content ID>           To correct transcription errors

 95:16       Replace <content ID> with <Content ID>           To correct transcription errors

 96:4        Replace <spammie> with <spammy>                  To correct transcription errors

 96:23       Replace <content ID> with <Content ID>           To correct transcription errors

 100:5       Replace <top> with <topic>                       To clarify the record

 101:6       Insert <job> between <good> and <of>             To correct transcription errors

 101:6       Replace <list> with <listing>                    To clarify the record

 107:19      Replace <User Experience> with <user             To correct transcription errors
             experience>

 114:15      Replace <lyingly> with <likely>                  To correct transcription errors

 117:8       Replace <value> with <valued>                    To correct transcription errors

 117:12      Replace <value> with <valued>                    To correct transcription errors

 117:15      Replace <through> with <user>                    To clarify the record
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